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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

GERALD RAIDER                                    §
                                                 §
v.                                               §    CIVIL ACTION NO. __________________
                                                 §          JURY
STATE FARM LLOYDS                                §


                                    NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Petitioner, State Farm Lloyds, states in support of its Notice of Removal of the case

originally filed with the 101st Judicial District of Dallas County, Texas as follows:

                                      DIVERSITY FACTS

       1.      On March 31, 2017, Plaintiff commenced a civil action against State Farm Lloyds

alleging negligence, breach of contract, violations of the Deceptive Trade Practices Act ("DTPA")

and tie-in statutes, violations of the Texas Insurance Code, and breach of the common law duty of

good faith and fair dealing. Plaintiff also asserted the violations of the Texas Insurance Code and

DTPA were committed knowingly and intentionally, entitling Plaintiff to additional damages.

Plaintiff's Original Petition, attached as Exhibit 1, was served by certified mail upon State Farm

Lloyds on or about April 11, 2017. Complete diversity exists for jurisdictional purposes between

Plaintiff and Defendant, and the amount in controversy is in excess of $75,000.00.

       2.      On the date of the commencement of this action, Defendant State Farm Lloyds was

and continues to be an association of underwriters organized under the Lloyds Plan, as set forth in




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the Texas Insurance Code. All underwriters of State Farm Lloyds are residents of Illinois.

Consequently, State Farm Lloyds is not considered, as a matter of law, a citizen of Texas.

        3.      Plaintiff is an individual whose residence is located in Dallas County, Texas and

owns the property that is the subject of this lawsuit. Said property is located in the city of Rowlett,

Dallas County, Texas. Plaintiff is a citizen of Texas.

        4.      This action involves an amount in controversy in excess of One Hundred Thousand

Dollars ($100,000.00) exclusive of interest and costs as indicated in Plaintiff's Original Petition, and

it is between citizens of different states. The cause is therefore removable based on diversity of

citizenship, pursuant to 28 U.S.C.A. § 1332 and § 1441, as between Plaintiff and Defendant, State

Farm Lloyds.

        5.      This Notice of Removal is filed within thirty (30) days after receipt by State Farm

Lloyds through service or otherwise, of a copy of Plaintiff's Original Petition (Ex. 1).

        6.      State Farm Lloyds affirmatively states the amount in controversy exceeds the

diversity requirement of $75,000.00, exclusive of interest and costs. See St. Paul Reinsurance Co.,

Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998) ("in addition to policy limits and potential

attorney's fees, items to be considered in ascertaining the amount in controversy when the insurer

could be liable for those sums under state law are, inter alia, penalties, statutory damages, and

punitive damages and just not interest or costs"). See also Toney v. State Farm Lloyds, __ Fed.

Appx.__, 2016 WL 4784012 at n. 8 (5th Cir. 2016) (citing Greenberg with approval). In addition

to the prayer for damages in the Original Petition in which Plaintiff asserts he is seeking in excess

of $100,000.00 in damages, Plaintiff's settlement demand in connection with their dispute of the

results of the insurance claim which underlies this action was for the amount of $178,942.00. The


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amount in controversy squarely puts this case within the jurisdictional minimum of this Court for

diversity purposes. See Pershing, L.L.C. v. Kiebach, 819 F. 3d 179, 182 (5th. Cir. 2016); Addo v.

Globe Life & Acc. Ins. Co., 230 F.3d 759, 761-62 (5th Cir. 2000).

       7.      Written notice of the filing of this Notice will be given to all adverse parties as

required by law.

       8.      A true and correct copy of this Notice will be filed with the Clerk of the 101st Judicial

District Court, Dallas County, Texas, as provided by law.

       WHEREFORE, Defendant State Farm Lloyds, prays it may effect the removal of this action

from the 101st Judicial District Court, Dallas County, Texas.

                                               Respectfully submitted,

                                               THE LAW OFFICE OF ARMANDO DE DIEGO, P.C.



                                               By:      /s/    Armando De Diego

                                                       ARMANDO DE DIEGO
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                                               1201 W. Griffin Street
                                               Dallas, Texas 75215-1030
                                               Telephone: (214) 426-1220
                                               Facsimile:     (214) 426-1246

                                               ATTORNEYS FOR STATE FARM LLOYDS




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this, the 11th day of May, 2017, the foregoing
document was electronically submitted to the Clerk of Court for the U.S. District Court, Northern
District of Texas, using the electronic case files system of the Court. The electronic case files
system sent a "Notice of Electronic Filing" to the following individual who has consented in writing
to accept this Notice as service of this document by electronic means:

        Mr. James M. McClenny                                  U    Via ECF
        Mr. J. Zachary Moseley                              ______ Via Certified Mail, RRE
        Mr. Derek L. Fadner                                 ______ Via Facsimile
        MCCLENNY MOSELEY & ASSOCIATES, PLLC
                                                            ______ Via Regular Mail
        411 N. Sam Houston Parkway E., Suite 200
        Houston, Texas 77060




                                                 /s/ Armando De Diego
                                              ARMANDO DE DIEGO




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                         Exhibit 1
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                                                                                                               3/31/2017 3:32:23 PM
1 CT-CERT-MAIL                                                                                                       FELICIA PITRE
                                                                                                                  DISTRICT CLERK


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                                      CAUSE N O . - - - - - - - - - - -

   GERALD RAIDER                                          §               IN THE DISTRICT COURT
                                                          §
                      P18intiff                           §
                                                          §
   v.                                                     §               DALLAS COUNTY, TEXAS
                                                          §
                                                          §
   STATE FARM LLOYDS                                      §            E-1 01 ST
                                                          §               _ _ JUDICIAL DISTRICT
                        Defetldallt
                                                          §


                        PLAINTIFF GERALD RAIDER'S ORIGINAL PETITION



   TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, Gerald Raider, (hereinafter referred to as "Plaintiff'), complaining of State Farm

   Lloyds, (hereinafter referred to as "Defendant") and for cause of action would respectfully show unto this


   Honorable Court and Jury as follows:


                                           DISCOVERY CONTROL PLAN

   1. Plaintiff intends for discovery to be conducted under Level 2 of Texas Rule of Civil Procedure 190.3

        and affirmatively pleads that this suit is not governed by the expedited-actions process of Texas Rule of


        Civil Procedure 169 because Plaintiff seeks monetary relief of over $100,000.00.


                                                     PARTIES

   2.   Plaintiff is an individual residing in Dallas County, Texas.

   3.   State Farm Lloyds is a domestic insurance company engaging in the business of insurance in the State of

        Texas. Defendant may be served with process by serving its registered agent of service, Corporation




   Plaintiff Gerald Raider's Original Petition                                                          Page I 1
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     Service Company, located at the following address: 211 East 7th Street, Suite 620, Austin, Texas 78701-

     3218.


                                                JURISDICTION

4.   The Court has jurisdiction over this cause of action because the amount in controversy is within the

     jurisdictional limits of the Court.

5.   The Court has jurisdiction over Defendant because it is a domestic insurance company that engages in

     the business of insurance in the State of Texas and Plaintiffs causes of action arise out of Defendant's

     business activities in the State of Texas. Specifically, State Farm Lloyds sought out and marketed for

     insurance in Texas and has "purposefully availed" itself of the privilege of conducting activities m

     Texas. Kelly v. General InteriorConstr., Inc., 301 S.W.3d 653, 660-61 (Tex. 2010).


                                                    VENUE

6.   Venue is proper in Dallas County, Texas, because the Property is situated in Dallas County, Texas.

     TEX. CIV. PRAC. & REM. CODE§ 15.032.


                                                    FACTS

7.   Plaintiff purchased a policy from Defendant, which was in effect at the time ofloss.

8.   The Policy was purchased to insure Plaintiffs property, which is located at 7305 Bryn Mawr Drive,


     Rowlett, Texas 75089.

9.   Defendant and/or its agent sold the Policy insuring the Property to Plaintiff.

10. Plaintiff is a "consumer" as defined under the Texas Deceptive Trade Practices Act ("DTPA") because

     he is an individual who sought or acquired by purchase or lease, goods or services, for commercial,


     personal or household use.

Plainti.ff Gerald Rilider's Original Petition                                                       Page I 2
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11. On or about December 26, 2015, Plaintiff experienced a severe weather related event, namely a tornado,


    which caused substantial damage to the Property and surrounding homes and businesses in the area. The


    Property's damage constitutes a covered loss under the Policy issued by Defendant.


12. Plaintiff reported the claim on December 29, 2015. He was unable to report the claim because the cell


    phone towers stopped working on the day of the storm. When he reported the claim, Defendant's

    adjuster asked him whether his home was livable. Plaintiff responded in the affirmative. In response,


    Defendant's adjuster said other people were in need to get into livable housing so she would call at a


    later time. When Defendant's adjuster called Plaintiff back, she stated that Plaintiff's deductible was


    $7,800.00 and that there was no use in going to his house.


13. Defendant improperly, wrongful, and egregious decision to refuse to investigate and evaluate Plaintiffs


    claim. Defendant had a duty to Plaintiff to investigate, evaluate, and determine coverage for the claim.


    Defendant breached this duty when it represented to him that because of his inability to pay the


    deductible, he there would be no point in coming to inspect the property. Irrespective of the deductible


    amount, Defendant has an obligation to its insured.


14. Plaintiff has suffered severe and continuing damages because of Defendant's bad faith conduct.


    Specifically, Plaintiff was forced to make temporary emergency repairs including fixing his backyard

    fence, patching the roof, fixing his air conditioning unit. He has been unable to fix the sheet rock in his


    home and garage and the window screens.


15. Defendant's improper conduct forced Plaintiff to hire a professional estimate writer to properly evaluate


    his claim. On or around November 29, 2016, Plaintiffs professional estimate writer inspected the



Plaintiff Gerald Raider's Original Petition                                                           Page I 3
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    property. Plaintiffs professional estimate writer estimated the value of the damages to be $42,235.50.


    Plaintiffs professional estimate writer required a full roof replacement due to the tornado damage ..


    Specifically, the professional estimate writer estimated for the removal and replacement of the roofing


    felt and 36 squares of composition roofing shingle material. Additionally, the professional estimate


    writer recommended removing and replacing the ridge caps, drip edge, chimney flashing, flashing, and


    roof vents. Plaintiffs professional estimate writer also provided for an ice and water shield per


    International Building Code 2012, Chapter 1507.2.8.2, which states in areas where there has been a


    history of ice forming along the eaves causing a back up of water, an ice barrier that consists of at least 2


    layers of underlayment cemented together or a self-adhering polymer modified bitumen sheet shall be


    used and extend from the lowest edges of all roof surfaces to a point at least 2 inches inside the exterior


    wall line. The City of Rowlett has adopted the 2012 International Building Code.


16. With respect to the roof replacement, Plaintiffs professional estimate writer included compliance with


    the Occupational Safety and Health Administration ("OSHA"). OSHA requires that when working on


    buildings with "unprotected sides and edges" that "each employee on a walking/working surface


    (horizontal and vertical surface) with an unprotected side or edge which is 6 feet ( 1. 8m) or more above a


    lower level shall be protected from falling by the use of guardrail systems, safety net systems, or


    personal fall arrest systems." Occupational Safety and Health Act of 1970 § 1926.501(b)(l).


17. Additionally, Plaintiffs professional estimate writer provided for the removal, replacement, and staining


    of the wood fence. With respect to the living room, dining room, and garage, Plaintiffs professional


    estimate writer estimated for the removal and replacement of the drywall and paint. Moreover,



Plaintiff Gerald Raider's Original Petition                                                             Page I 4
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    Plaintiffs professional estimate writer estimated for the removal and replacement of 6 windows and a


    central air conditioning system.


18. Despite its duty to investigate the loss, Defendant failed to inspect the property and furnish and estimate.


    As a result of Defendant's improper conduct, Plaintiffs claim was intentionally and knowingly

    underpaid.


19. Defendant's assigned adjuster acted as an authorized agent of Defendant. Defendant' s assigned adjuster


    acted within the course and scope of her authority as authorized by Defendant. Plaintiff relied on


    Defendant and      Defendant'~    assigned .adjuster to properly adjust the claim regarding the property and to


    be issued payment to ftx such damage, which did not happen and has not been rectifted to date.


20. Defendant failed to perform its contractual duties to adequately compensate Plaintiff under the terms of


    the policy. Specifically, Defendant refused to investigate the loss or pay the full proceeds owed under


    the policy. Due demand was made by Plaintiff for proceeds to be in an amount sufficient to cover the


    damaged property.


21. All conditions precedent to recovery under the policy had, and have, been carried out and accomplished


    by Plaintiff.


22. As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to retain the professional


    services of McClenny Moseley & Associates, PLLC, who is representing Plaintiff with respect to these


    causes of action.




                                                      AGENCY

Plaintiff Gerald Raider's Ong,inal Petition                                                               Page   I5
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23. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.


24. All acts by Defendant were undertaken and completed by its officers, agents, servants, employees,


    and/or representatives. All such acts were either done with the full authorization or ratification of


    Defendant and/or were completed in its normal and routine course and scope of employment.

25. Defendant and Defendant's assigned adjuster's conduct constitutes multiple violations of the Texas


    Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this

    subsection are made actionable by TEX. INS. CODE§ 541.151.

26. Defendant is liable for the unfair and deceptive acts of its assigned adjuster because he/she meets the


    definition of a "person" as defined by the Texas Insurance Code. The term "person" is defined as "any


    individual, corporation, association, partnership, reciprocal or inter insurance exchange, Lloyds plan,

    fraternal benefit society, or other legal entity engaged in the business of insurance, including an agent,


    broker, adjuster or life and health insurance counselor." TEX. INS. CODE §541.002(2) (emphasis


    added); see also Liberty Mutual Ins. Co. v. GaiTison Contractors, Inc. 966 S.W.2d 482, 484 (Tex. 1998)


    (holding an insurance company employee to be a person for the purpose of bringing a cause of action

    against them under the Texas Insurance Code and subjecting them to individual liability).


                                              NEGLIGENCE

27. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


    paragraphs.




Plaintiff Gerald Raider's Original Petition                                                          Page I 6
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28. Plaintiff entrusted Defendant to properly adjust Plaintiffs insurance claim for the property damage.


    Defendant refused to inspect the property and furnish an estimate because of the high deductible.


    Defendant owed a duty to ensure that· the property damage was properly adjusted. Nevertheless,


    Defendant failed to ensure that Plaintiffs damage was properly adjusted. This failure is a clear breach of


    Defendant's duty, and as a result, Plaintiff suffered significant injuries.


29. Defendant and its assigned adjuster had and owed a legal duty to Plaintiff to properly adjust all losses


    associated with the Property. Defendant, individually and through its assigned adjuster, breached this


    duty in a number of ways, including, but not limited to, the following:


                   A. Defendant, individually and through its assigned adjuster, was to exercise due care in


                        adjusting and paying policy proceeds regarding the Property;


                   B. Defendant, individually and through its assigned adjuster, had a duty to competently


                        and completely handle and pay all covered losses associated with the Property;


                   C. Defendant, individually and through its assigned adjuster, failed to properly complete


                        all adjusting activities associated with Plaintiffs damages; and,


                   D. Defendant's acts, omissions, and/or breaches, individually and through its assigned


                        adjuster, did great damage to Plaintiff, and were a proximate cause of Plaintiffs


                        damages.


                                              BREACH OF CONTRACT

30. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


    paragraphs.




Plaintiff Gerald Raider's Original Petition                                                              Page I 7
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31. Defendant's conduct constitutes a breach of the insurance contract made between Defendant and


    Plaintiff. According to the Policy, which Plaintiff purchased, Defendant had the absolute duty to


    investigate Plaintiffs damages, and pay Plaintiff policy benefits for the claims made due to the


    extensive storm-related damages. Defendant did not investigate the property.


32. As a result of the storm-related event, Plaintiff suffered extreme damages due to the tornado. Despite

    objective evidence of the tornado-related damages provided by Plaintiff and his representatives,


    Defendant breached its contractual obligations under         th~   policy by failing to investigate and pay

    Plaintiff cost related benefits to properly repair the property, as well as for related losses associated with


    the subject loss event.          As a result of this breach, Plaintiff has suffered additional actual and


    consequential damages.


           VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

33. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


    paragraphs.


34. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that


    constitute violations of the Texas Deceptive Trade Practices Act ("DTPA"), which is codified in the


    Texas Business and Commerce Code ("TEX. BUS. & COM. CODE"), including but not limited to:

                   A. Representing that an agreement confers or involves.rights, remedies, or obligations


                        which it does not have or involve, or which are prohibited by law (TEX. BUS. & COM.


                        CODE§ 17.46(b)(l2));




Plaintiff Gerald Raider's On"ginal Petition                                                             Page I 8
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                  B. Misrepresenting the authority of a salesman, representative, or agent to negotiate the


                       final terms of a consumer transaction(§ 17.46(b)(14));


                  C. Failing to disclose information concerning goods or services which were known at the


                       time of the transaction, and the failure to disclose such information was intended to


                        induce the consumer into a transaction into which the consumer would not have entered

                       had such information been disclosed(§ 17.46(b)(24));


                   D. Using or employing an act or practice in violation of the Texas Insurance Code (§

                        17.50(a)(4));

                   E. Unreasonably delaying the investigation, adjustment, settlement offer and prompt


                       resolution of Plaintiffs claim (TEX. INS. CODE§ 541.060(a)(2)-(5));


                   F. Failure to properly investigate Plaintiffs claim (§ 541.060(7)); and/or

                   G. Hiring and relying upon a biased adjuster, in this case Defendant's assigned adjuster, to


                        obtain a favorable, results-oriented report, and to assist Defendant in severely


                        underpaying and/or denying Plaintiffs damage claim (TEX. BUS. & COM. CODE §


                        17 .46(31 )).


35. As described in this Original Petition, Defendant represented to Plaintiff that his Policy and State Farm

    Lloyds's adjusting and investigative services had characteristics or benefits that it actually did not have,

    which gives Plaintiff the right to recover proceeds. TEX. BUS. & COM. CODE§ 17.46(b)(5).




Plaintiff Gerald &ider's Original Petition                                                             Page   I9
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36. As described in this Original Petition, Defendant represented to Plaintiff that his Policy and State Farm


    Lloyds's adjusting and investigative services were of a particular standard, quality, or grade when they

    were of another, which stands in violation of§ 17.46 (b)(7).


37. By Defendant representing that they would pay the entire amount needed by Plaintiff to repair the


    damages caused by the weather related event and then not doing so, Defendant has violated §§ 17.46

    (b)(5), (7), (12).


38. Defendant has breached an express warranty that the damage caused by the storm-related event would


    be covered under Policy. This breach entitles Plaintiff to recover under§§ 17.46 (b) (12), (20); 17 .50


    (a)(2).


39. Defendant's actions, as described herein, are unconscionable in that Defendant took advantage of


    Plaintiffs lack of knowledge, ability, and experience to a grossly unfair degree. Therefore, Defendant's

    unconscionable conduct gives Plaintiff the right to relief under§ 17.50(a)(3).


40. Defendant's conduct, acts, omissions, and failures, as described in this Original Petition, are unfair


    practices in the business of insurance and are in violation of§ 17.50 (a)(4).


41. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false, misleading, and/or


    deceptive acts and/or practices, made by Defendant, to his detriment. As a direct and proximate result

    of Defendant's collective acts and conduct, Plaintiff has been damaged in an amount in excess of the


    minimum jurisdictional limits of this Court, for which Plaintiff now sues. All of the aforementioned


    acts, omissions, and failures of Defendant are a producing cause of Plaintiffs damages which are


    described in this Original Petition.



Plaintiff Gerald &ider's Original Petition                                                        Page I 10
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42. Because Defendant's collective actions and conduct were committed knowingly and intentionally, in


    addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and


    additional penalty damages, in an amount not to exceed three times such actual damages. § 17 .50(b)(1 ).


43. As a result of Defendant's unconscionable, misleading, and deceptive actions and conduct, Plaintiff has

    been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims

    on his behalf. Accordingly, Plaintiff also seeks to recover his costs and reasonable and necessary


    attorney's fees as permitted under§ 17.50(d), as well as any other such damages to which Plaintiff may

    show himself to be justly entitled by law and in equity.


                         VIOLATIONS OF THE TEXAS INSURANCE CODE

44. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the foregoing


    paragraphs.


45. Defendant and/or its assigned adjuster's actions constitute violations of the Texas Insurance Code

    ("TEX. INS. CODE"), Chapters 541 and 542, including but not limited to:


                   A. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the coverage


                        at issue (TEX. INS. CODE§ 541.060(a)(l));


                   B. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable settlement of

                        a claim with respect to which the insurer's liability has become reasonably clear (§

                        541.060(a)(2)(A));




Plaintiff Gerald Raider's Original Petition                                                           Page I 11
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                   C. Failing to promptly provide to a policyholder a reasonable explanation of the basis in


                        the policy, in relation to the facts or applicable law, for the insurer's denial of a claim or


                        for the offer of a compromise settlement of a claim(§ 541.060(a)(3));


                   D. Failing to affirm or deny coverage of Plaintiffs claim within a reasonable time and


                        failing within a reasonable time to submit a reservation of rights letter to Plaintiff(§

                        541.060(a)(4));


                  .E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other


                        coverage is available(§ 541.060 (a)(5));


                   F. Refusing, to pay a claim without conducting a reasonable investigation with respect to


                        the claim(§ 541.060(a)(7));

                   G. Forcing Plaintiffs to file suit to recover amounts due under the policy by refusing to pay

                        all benefits due(§ 542.003(b )(5));


                   H. Misrepresenting an insurance policy by failing to disclose any matter required by law to


                        be disclosed, including a failure to make such disclosure in accordance with another


                        provision of this code(§ 541.061(5));


                   I.   Engaging in false, misleading, and deceptive acts or practices under the DTP A

                        (§541.151(2));

                   J.   Failing to acknowledge receipt of the claim, commence any investigation of the claim,


                        and request from the claimant all items, statements, and forms the insurer reasonably




Plaintiff Gerald Raider's Original Petition                                                                Page I 12
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                        believes at that time will be required from the claimant no later than the 15th day after


                        the receipt of notice of the claim(§ 542.055);


                   K. Failing to notify the claimant in writing of the acceptance or rejection of a claim no


                        later than the 15th business day after the insurer receives all items, statements, and

                        forms required by the insurer to secure a final proof of loss (§ 542 .056(a));

                   L. Failing to state the reasons for rejection(§ 542.056(c));

                   M. Failing to notify the claimant of the reasons that the insurer needs 45 days in additional


                        time to accept or reject the claim(§ 542.056(d));


                   N. Failing to pay a claim not later than the 5th business day after the date of notice of


                        acceptance was made(§ 542.057); and/or


                   0. Failing to pay a valid claim after receiving all reasonably requested and required items

                        from the insured.(§ 542 .058(a)).


46. By its acts, omissions, failures and conduct, Defendant has engaged in unfair and deceptive acts and


    practices in the business of insurance. Plaintiff, the insured and beneficiary, has a valid claim as a result


   ·of his detrimental reliance upon Defendant's unfair or deceptive acts or practices.§ 541.151(2).


47. Defendant's aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due

    under the Policy. Defendant refused to investigate the claim due to the high deductible, despite knowing

    there were severe actual damages to the property. Defendant's continued refusal to investigate and offer


    a reasonable settlement compelled Plaintiff to file suit.§ 542.003(5).




Plaintiff Gerald Raider's Original Petition                                                              Page   I 13
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48 . Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because


    Defendant's actions and conduct were committed knowingly and intentionally, Plaintiff is entitled to


    recover, in addition to all damages described herein, mental anguish damages and additional penalty


    damages, in an amount not to exceed three times the amount of actual damages, for Defendant having


    knowingly, intentionally and/or negligently committed said actions and conduct.§ 541 .152.


49. As a result of Defendant's unfair and deceptive actions and conduct, Plaintiff has been forced to retain


    the legal services of the undersigned attorneys to protect and pursue these claims on his behalf.


    Accordingly, Plaintiff also seeks to recover his costs and reasonable and necessary attorney's fees as


    permitted under TEX. BUS. & COM. CODE § 17 .50( d) or TEX. INS. CODE § 541.152 and any other


    such damages to which Plaintiff may show himself justly entitled by law and in equity.


                                BREACH OF THE COMMON LAW DUTY
                                  OF GOOD FAITH & FAIR DEALING

50. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.


51. From and after the time Plaintiffs claim was presented to Defendant, the liability of Defendant to pay


    the full claim in accordance with the terms of the policy was more than reasonably clear. However,


    Defendant has refused to pay Plaintiff in full, despite there being no basis whatsoever on which a


    reasonable insurance company would have relied on to deny full payment. Defendant's conduct


    constitutes a breach of the common law duty of good faith and fair dealing. See Viles v. Security


    National Ins. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an insurer has a duty to its insureds to


    "investigate claims thoroughly and in good faith" and an insurer can only deny a claim after a thorough


    investigation shows that there is a reasonable basis to deny that claim).


Plaintiff Gerald Raider's Original Petition                                                         Page I 14
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52. For the breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to


    compensatory damages, including all forms of loss resulting from Defendant's breach of the duty, such


    additional costs, economic hardship, losses due to nonpayment of the amount owed to Plaintiff, and/or


    exemplary damages for emotional distress.


                                              KNOWLEDGE

53. Each of the acts described above, together and singularly, were done "knowingly" and "intentionally,"


    as the terms are used in the Texas Insurance Code, and were a producing cause of Plaintiffs damages


    described herein.


                                                DAMAGES

54. Plaintiff will show that all of the aforementioned acts, taken together or singuiarly, constitute the


    producing causes of the damages sustained by Plaintiff.


55. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiffs bargain, which is the


    amount of Plaintiffs claim, together with attorney's fees.


56. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to


    actual damages, which include the loss of the benefit that should have been paid pursuant to the policy,


    court costs and attorney's fees. For knowing conduct of the acts complained of, Plaintiff asks for three


    times Plaintiffs actual damages. TEX. INS. CODE§ 541.152.


57. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled to the


    amount of Plaintiffs claim, interest on the claim at the rate of eighteen (18) percent per year, together


    with attorney's fees. § 542.060.




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58. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory


    damages, including all forms of loss resulting from the insurer's breach of duty, such as additional costs,


    economic hardship, losses due to nonpayment of the amount the insurer owed, and/or exemplary


    damages for emotional distress.


59. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of


    the law firm whose name is subscribed to this pleading. Therefore, Plaintiff is entitled to recover a sum


    for the reasonable and necessary services of Plaintiffs attorneys in the preparation and trial of this


    action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.


60. Defendant's acts have been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff


    seeks an amount in excess of the minimum jurisdictional limits of this Court.


61. More specifically, Plaintiff seeks monetary relief, including damages. of any kind, penalties, costs,


    expenses, pre-judgment interest, and attorney's fees, m excess of $200,000.00 but less than


    $1,000,000.00.


                                 ADDITIONAL DAMAGES & PENAL TIES

62. Defendant's conduct was committed knowingly and intentionally. Accordingly, Defendant is liable for


    additional damages under the DTPA, TEX. BUS. & COM. CODE § 17 .50(b )( 1), as well as all operative


    provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under


    TEX. INS. CODE § 542.060.




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                                              ATTORNEY'S FEES

63. In addition, Plaintiff is entitled to all reasonable and necessary attorney's fees pursuant to the Texas


    Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE§§ 38.001-.005.


                                              COMPEL MEDIATION

64. Pursuant to TEX. INS. CODE§ 541.161 and TEX. BUS. & COM. CODE§ 17.5051, Plaintiff requests

    that Defendant be made to mediate no later than the 30th day of the signed order, following the 90th day


    after the date for which this pleading for relief is served upon Defendant.


                                                JURY DEMAND

65. Plaintiff demands a jury trial, consisting of citizens residing in Dallas County, Texas, and tenders the


    appropriate fee with this Original Petition.


                                                  DISCOVERY

66. Texas Rule of Civil Procedure 47 has been met in this petition. As such, Plaintiff requests that

    Defendant respond to the Requests for Disclosure, Requests for Production and Interrogatories


    contained herein:


                                       I. REQUESTS FOR DISCLOSURE

    1.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff request that Defendant State Farm Lloyds,


          disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (1), and to


          do so within 50 days of this request.


                                     II. REQUESTS FOR PRODUCTION

     1.   Please produce State Farm Lloyds's complete claim files from the home, regional and local offices,


          as well as third party adjusters/adjusting firms regarding the subject claim, including copies of the



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         file jackets, "field" files and notes, and drafts of documents contained in the file for the premises


         relating to or arising out of Plaintiffs underlying claim.


    2.   Please produce the underwriting files referring or relating in any way to the policy at issue in this


         action, including the file folders in which the underwriting documents are kept and drafts of all


         documents in the file.


    3.   Please produce a certified copy of the insurance policy pertaining to the claim made subject of this


         lawsuit, including all underwriting files and insurance applications sent on behalf of Plaintiff in his


         attempt to secure insurance on the Property, which is the subject of this suit.


    4.   Please produce the electronic diary, including the electronic and paper notes made by State Farm


         Lloyds's claims personnel, contractors, and third party adjusters/adjusting firms relating to the


         Plaintiffs claim.


    5.   Please produce all emails and other forms of communication by and between all parties in this


         matter relating to the underlying event, claim or the Property, which is the subject of this suit.


    6.   Please produce the adjusting reports, estimates and appraisals prepared concerning Plaintiffs


         underlying claim.


    7.   Please produce the field notes, measurements and file maintained by the adjuster(s) and engineers


         who physically inspected the Property, which is the subject of this suit.


    8.   Please produce the emails, instant messages and internal correspondence pertaining to Plaintiffs


         underlying claim.




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    9.   Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiffs home,


         regardless of whether State Farm Lloyds intends to offer these items into evidence at trial.


   . 10. Please produce all communications, correspondence, documents and emails between any and all


         assigned adjusters and/or agents and the Plaintiff, not limited to physical or audio recordings of all

         conversations between Plaintiff and any and all assigned adjusters and/or agents.

    11. Please produce all audio recordings or transcripts of conversations, calls, text, email or any other


         data sent to and from Plaintiff by any and all assigned adjusters and/or agents after their letter of

         representation sent by counsel.

    12. Please provide copies of all marketing material sent on behalf of State Farm Lloyds and/or its agents


         after the date of loss of the Property, which is the subject of this suit.


    13. Please provide all correspondence between State Farm Lloyds and its assigned adjuster, and all


         correspondence between State Farm Lloyds and its assigned agents, after the date of loss of the


         Property, which is the subject of this suit.


                                              III. INTERROGATORIES

    1.   Please identify any person State Farm Lloyds expects to call to testify at the time of trial.

    2.   Please identify the persons involved in the investigation and handling of Plaintiffs claim for

         insurance benefits arising from damage relating to the underlying event, claim or the Property,


         which is the subject of this suit, and include a brief description of the involvement of each person

         identified, their employer, and the date(s) of such involvement.




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    3.   If State Farm Lloyds or State Farm Lloyds's representatives performed any investigative steps in


         addition to what is reflected in the claims file, please generally describe those investigative steps


         conducted by State Farm Lloyds or any of State Farm Lloyds's representatives with respect to the


         facts surrounding the circumstances of the subject loss. Identify the persons involved in each step.


    4.   Please identify by date, author, and result the estimates, appraisals, engineering, mold and other


         reports generated as a result of State Farm Lloyds's investigation.


    5.   Please state the following concerning notice of claim and timing of payment:


         a.        The date and manner in which State Farm Lloyds received notice of the claim;


         b.        The date and manner in which State Farm Lloyds acknowledged receipt of the claim;


         c.        The date and manner in which State Farm Lloyds commenced investigation of the claim;


         d.        The date and manner in which State Farm Lloyds requested from the claimant all items,


                   statements, and forms that State Farm Lloyds reasonably believed, at the time, would be


                   required from the claimant pursuant to the investigation; and


         e.        The date and manner in which State Farm Lloyds notified the claimant in writing of the


                   acceptance or rejection of the claim.


    6.   Please identify by date, amount and reason, the insurance proceeds payments made by Defendant, or


         on Defendant's behalf, to the Plaintiff.


    7.   Has Plaintiffs claim for insurance benefits been rejected or denied? If so, state the reasons for


         rejecting/denying the claim.


    8.   When was the date State Farm Lloyds anticipated litigation?



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    9.   Have any documents (including those maintained electronically) relating to the investigation or


         handling of Plaintiffs claim for insurance benefits been destroyed or disposed of? If so, please

         identify what, when and why the document was destroyed, and describe State Farm Lloyds's


         document retention policy.

    10. Does State Farm Lloyds contend that the insured's premises were damaged by storm-related events

         and/or any excluded peril? If so, state the general factual basis for this contention.


    11. Does State Farm Lloyds contend that any act or omission by the Plaintiff voided, nullified, waived

         or breached the insurance policy in any way? If so, state the general factual basis for this. contention.

    12. Does State Farm Lloyds contend that the Plaintiff failed to satisfy any condition precedent or


         covenant of the Policy in any way? If so, state the general factual basis for this contention.


    13. How is the performance of the adjuster(s) involved in handling Plaintiffs claim evaluated? State

         what performance measures are used and describe State Farm Lloyds's bonus or incentive plan for


         adjusters.


                                               CONCLUSION

67. Plaintiff prays that judgment be entered against Defendant State Farm Lloyds and that Plaintiff be

    awarded all of his actual damages, consequential damages, prejudgment interest, additional statutory


    damages, post judgment interest, reasonable and necessary attorney's fees, court costs and for all such


    other relief, general or specific, in law or in equity, whether pled or un-pled within this Original Petition.




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                                                 PRAYER
            WHEREFORE, PREMISES CONSIDERED, Plaintiff prays he be awarded all such relief to which


he is due as a result of the acts of Defendant State Farm Lloyds, and for all such other relief to which


Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of treble damages


under the Texas Insurance Code, attorney's fees for the trial and any appeal of this lawsuit, for all costs of


Court on his behalf expended, for pre-judgment and post-judgment interest as allowed by law, and for any


other and further relief, either at law or in equity, to which Plaintiff may show the himself to be justly


entitled.


                                                  RESPECTFULLY SUBMilTED,

                                                  1'!1 Tame£ M McC/enn,v
                                                  McCLENNY MOSELEY Be ASSOCIATES, PLLC
                                                  James M. McClenny
                                                  State Bar No. 24091857
                                                  J. Zachary Moseley
                                                  State Bar No. 24092863
                                                  Derek L. Fadner
                                                  State Bar No. 24100081
                                                  411 N. Sam Houston Parkway E., Suite 200
                                                  Houston, Texas 77060
                                                  Principal Office No. 713-334-6121
                                                  Facsimile: 713-322-5953
                                                  )amesrWmma-pllc.corn
                                                  Zach@,mma-pllc.com
                                                  DerekC(/)mma-pllc.com
                                                  ATIORNEYS FOR PLAINTIFF




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                   STATE FARM LLOYDS




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                   AUSTIN, TX 78701-3218

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